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October 2, 2020

Honorable Emmet G. Sullivan

United States District Judge

United States District Court for the
District of Columbia

333 Constitution Ave., NW

Washington, DC 20001

Re: United States v. Michael T. Flynn, Case No. 17-CR-232
Dear Judge Sullivan:

We write to the Court in this matter on behalf of our client, former FBI Deputy
Director Andrew G. McCabe. It has come to our attention that on September 24, 2020,
in the above captioned case, counsel for the defendant filed its Third Supplement in
Support of Agreed Dismissal. As part of that filing, at page 9, counsel stated the
following:

“Newly produced notes of Andrew McCabe show that at 5:15 pm on May 10,
2017, McCabe briefed the Senate Select Committee on Intelligence. They were
trying very hard to pin something on General Flynn. Exhibit B.”

Exhibit B is a heavily redacted page from one of Mr. McCabe’s personal notebooks that
he maintained during his service as FBI Deputy Director.

The date “5/10/17” that appears on Exhibit B is not in Mr. McCabe's
handwriting and he did not enter the date that now appears there. Further, contrary to
counsel's claim, Mr. McCabe did not brief the Senate Intelligence Committee on
anything on May 10. That was the day after President Trump had fired FBI Director
Comey and Mr. McCabe was consumed with various other responsibilities. Mr.

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McCabe did participate in a public Senate Select Committee on Intelligence hearing and
closed briefing on worldwide threats, along with other intelligence community officials,
on May 11. Neither the public hearing nor the secret briefing had anything to do with
Mr. Flynn. Counsel did not seek to confirm the accuracy of its claims with Mr. McCabe
or us about Mr. McCabe’s notes before filing the Third Supplement.

It is ironic that the Department of Justice has provided Mr. McCabe’s notes to
counsel for Mr. Flynn at the very same time it is denying Mr. McCabe access to his
personal notes that have been requested to help prepare for his scheduled testimony
before the Senate Judiciary Committee on October 6, 2020. Our requests for his
personal notebooks and daily calendars have been denied in full because they are
purportedly voluminous and burdensome. Indeed, we have'filed a request for
investigation with the Office of the Inspector General for the Department of Justice
Department to pursue the issue of why those materials have been wrongfully withheld
and on whose orders.

Please let us know if you require any further information.

Respectfully submitted,

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Michael R. Bromwich

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